UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA                      Case No. 23-CR-118 (AT)

               v.
                                               NOTICE OF MOTION FOR
 YANPING WANG,                                 LEAVE TO WITHDRAW AS
                                               COUNSEL FOR DEFENDANT
                              Defendant.


       PLEASE TAKE NOTICE that, upon the accompanying Verified Motion to Withdraw

as Counsel for Defendant with supporting Memorandum of Law filed by Priya Chaudhry of

ChaudhryLaw PLLC (“ChaudhryLaw” or the “Firm”), dated August 7, 2023, ChaudhryLaw

moves this Court for an order granting the Firm leave to withdraw as counsel for Defendant

Yanping Wang, pursuant to Local Criminal Rule 1.2.


Dated: New York, New York
       August 7, 2023
                                            ChaudhryLaw PLLC

                                            By:    /s/ Priya Chaudhry
                                                   Priya Chaudhry
                                                   Seth J. Zuckerman
                                                   Beth Farber

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                                                   Attorneys for Defendant Yanping Wang
